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 1                                  NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Kaylee Nye,                                      No. CV-17-03097-PHX-JJT
10                 Plaintiff,                         ORDER
11   v.
12   Fisher & Burns Financial LLC,
13                 Defendant.
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15
16           UPON review of the parties’ Stipulation of Dismissal With Prejudice (Doc. 18),
17   and good cause appearing,
18           IT IS ORDERED granting the Stipulation (Doc. 18). The above-entitled matter is
19   hereby dismissed with prejudice, the parties to bear their own costs and attorneys’ fees.
20           IT IS FURTHER ORDERED directing the Clerk to close this matter.
21           Dated this 19th day of January, 2018.
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23
                                          Honorable John J. Tuchi
24                                        United States District Judge
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